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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                      Case No. 8:03-cr-332-T-23TBM
                                                                     8:05-cv-1175-T-23TBM
    ANELDO RAMIREZ MENDEZ
                                                       /

                                                  ORDER

           Mendez’s motion to vacate sentence pursuant to 28 U.S.C. § 2255 (Doc. 1)

    challenges the validity of his conviction for possession with intent to distribute five

    kilograms or more of cocaine and the ensuing sentence of 135 months’ imprisonment.

    The motion, though timely, is meritless.

           A motion to vacate must be reviewed prior to service on the United States. See

    Rule 4 of the Rules Governing § 2255 Cases. If the “motion and the files and records of

    the case conclusively show that the prisoner is entitled to no relief,” the motion is

    properly denied without a response from the United States. 28 U.S.C. § 2255. See

    also United States v. Deal, 678 F.2d 1062, 1065 (11th Cir. 1982) (a “§ 2255 hearing is

    not required if ‘the motion and the files and records of the case conclusively show that

    the prisoner is entitled to no relief’”) (citation omitted); Wright v. United States, 624 F.2d

    557, 558 (5th Cir. 1980)1 (affirming district court’s summary dismissal of § 2255 motion

    “[b]ecause in this case the record, uncontradicted by [defendant], shows that he is not



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                Fifth Circuit decisions handed down prior to October 1, 1981, are binding precedent upon
    this Court. Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
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    entitled to relief.”); Hart v. United States, 565 F.2d 360, 361 (5th Cir. 1978) (“Rule 4(b)

    of § 2255 allows the district court to summarily dismiss the motion and notify the movant

    if ‘it plainly appears from the face of the motion and any annexed exhibits and the prior

    proceedings in the case that the movant is not entitled to relief.’”). For reasons set forth

    below, Mendez’s motion is without merit.

            Mendez’s conviction is based on a negotiated plea. The Plea Agreement

    (Doc. 228 in 8:03-cr-332-T-23TBM) specifically states that Mendez “expressly waives

    the right to appeal defendant’s sentence, directly or collaterally, on any ground except

    for an upward departure by the sentencing judge or a sentence above the statutory

    maximum or a sentence in violation of the law apart from the sentencing guidelines. . . .”

    Plea Agreement ¶ 5 at 11. Mendez was sentenced to the guidelines minimum of 135

    months imprisonment, which was not an upward departure nor above the statutorily

    authorized maximum sentence of life imprisonment.2 Thus, Mendez’s waiver of his right

    to challenge the guidelines sentence is controlling.

            Mendez’s claim that counsel was ineffective for not filing a notice of appeal is

    without merit. Counsel is not ineffective for failing to file a notice of appeal, even when

    asked to do so, if the plea agreement contains an appeal waiver. See, e.g.,

    Montemoino v. United States, 68 F.3d 416, 417 (11th Cir. 1995) (“Absent an express

    waiver of the right to appeal his sentence, a defendant who pleads guilty and is



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               In fact, the 135-month sentence was pursuant to the government’s agreement to a sentence at the
    low end of the guidelines range and the governments recommendation for a three-level downward adjustment
    for acceptance of responsibility.

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    sentenced under the Guidelines has a right to direct appeal of his sentence.”)

    (emphasis added), and Roe v. Flores-Ortega, 528 U.S. 470, 480 & 489 (2000) (“Even in

    cases when the defendant pleads guilty, the court must consider such factors as

    whether the defendant received the sentence bargained for as part of the plea and

    whether the plea expressly reserved or waived some or all appeal rights.”) (“Finally, of

    course, there is no claim here that Flores-Ortega waived his right to appeal as part of

    his plea agreement . . . .” Souter, J., dissenting). Thus, Mendez’s claim that defense

    counsel rendered ineffective assistance for not filing a notice of appeal is without merit.

              Mendez’s also claims that his plea was entered without understanding the nature

    of the charge or consequence of the plea because he is illiterate in both Spanish and

    English. This claim is without merit. The record shows that Mendez received the

    assistance of a translator on numerous occasions. See Doc. 46, 75, 91, 99, 100, 123,

    126, 146, 165 & 190.

              Accordingly, the motion to vacate sentence pursuant to 28 U.S.C. § 2255 is

    DENIED. The clerk shall ENTER A JUDGMENT against Mendez and CLOSE this

    action.

              ORDERED in Tampa, Florida, on June 29, 2005.




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